                 Case 1:24-cv-00206-ABJ Document 32 Filed 04/09/24 Page 1 of 1
                                                                                                                    CO 547
                                                                                                                    Rev. 3/2010

                 UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                          FOR THE DISTRICT OF COLUMBIA


_Hazim Nada & Lord Energy SA
 ___________________________________
        Plaintiff(s)

                                                                                               24-cv-206-ABJ
                                                                              Civil Action No. ___________________
        vs.                                                                   In re:
                                                                               Sylvain Besson
                                                                              _________________________________
                                                                                          (Defendant)
The United Arab Emirates, et al.
____________________________________
       Defendant(s)


                                             MILITARY AFFIDAVIT
                                   (Certificate in Compliance W ith Soldiers and Sailors
                                  Civil Relief Act of 1940, As Amended in 1942 & 1960
                                   Title 50, Appendix, Section 520, United States Code)

                                                          9
         I hereby certify under penalty of perjury, this _______          April
                                                                  day of ________________________,       2024 that
                                                                                                         ______,
(select one):
         ✔      I am the duly authorized agent of the plaintiff in the above-listed case and make this certificate on
                 plaintiff’s behalf.
                I am the plaintiff in the above-entitled case.

           I make this certificate pursuant to the provisions of the Soldiers and Sailors Civil Act of 1940 and the
provisions of the Soldiers and Sailors Civil Relief Act Amendments of 1942 and 1960; that on behalf of the plaintiff,
I have caused careful investigation to be made to ascertain whether or not the above-named defendant is in the military
service of the United States or its Allies and that as a result of said investigation, I have discovered and do hereby
allege that said defendant is not in the military service of the United States or its Allies, that is to say said defendant
is not a member of the Army of the United States, the United States Navy, the Marine Corps, the Coast Guard and is
not an officer of the public Health Service detailed by proper authority for duty either with the Army or Navy, and said
defendant is not on active duty with any branches aforesaid, nor is said defendant under training or education under
the supervision of the United States preliminary to induction in to the military services; and the defendant is not serving
with the forces of any nation with which the United States is allied in the prosecution of any war, nor has said
defendant been ordered to report for induction under the Selective Training and Service Act of 1940, as amended, nor
is the defendant a member of the Enlisted Reserve Corps ordered to report for military service, but is employed as a
 journalist.
____________________________________________.

                                                                          /s/ Thomas A. Clare, P.C.
                                                                     ______________________________________
                                                                            Attorney for Plaintiff(s) [signature]
                                                                     Thomas A. Clare, P.C.
                                                                     ______________________________________
                                                                     Clare Locke LLP
                                                                     ______________________________________
                                                                     10 Prince Street
                                                                     Alexandria, Virginia 22314
                                                                     ______________________________________
                                                                     202-628-7400
                                                                     ______________________________________
461964
____________________                                                 ______________________________________
Bar Id. Number                                                            Name, Address and Telephone Number
